                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


    UNITED STATES GRAND JURY,
                          Plaintiffs,

      vs.                                          Case No. 3:19-mc-00029-TMB

    UNITED STATES SUPREME
    COURT, et al.,
                          Defendants.


                                ORDER OF DISMISSAL

        On August 22, 2019, a pleading titled “Declaration of Restoration of the Law

and the Land” was filed with this Court. The plaintiff describes itself as “United

States Grand Jury (Status: sovereign) tribunal, the People.” No individual or legally

recognizable entity is listed. 1 The pleading names the United States Supreme

Court, Federal Judiciary, U.S. Senate, and U.S. House of Representatives (Status:

clipped sovereignty) as defendants.




1 An internet search shows this pleading document and its accompanying documents to
be posted on a website for a group called the “National Liberty Alliance.” The National
Liberty Alliance describes its mission and purpose as “to provide an on line National
Venue where the People can organize, communicate, and learn the ‘science of
government by consent’!” The website also features a “DISCLAIMER: - WE ARE NOT
PART OF THE SOVEREIGN CITIZEN MOVEMENT.” However, the Court does take
judicial notice of similarities between this group’s activities and ideologies and facets of
the sovereign citizen movement. Judicial notice is the “court’s acceptance, for purposes
of convenience and without requiring a party’s proof, of a well-known and indisputable
fact; the court’s power to accept such a fact.” Black’s Law Dictionary (10th ed. 2014); see
also Caesar Kalinowski IV, A Legal Response to the Sovereign Citizen Movement, 80
Mont. L. Rev. 153 (2019).



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         The fifty-seven-page document, and the two accompanying attachments,

present an extensive discussion of theories and demands. The pleading declares

that:

                The grand Jury (the People) decide if a crime has been
                committed. All criminal prosecutions are to be decided
                by a jury (the People) in a Natural law Court such as this
                and not be a chancellor or judge in an equity court. The
                decisions of this court cannot be reexamined in any Court
                of the United States. 2

         The pleading further alleges that:

                The Unified United States Common Law Grand Jury
                (UUSCLGJ) is comprised of fifty Unified United State
                Common Law Grand Juries (UUSCLGJ’s), each unified
                amongst the counties within their respective States that
                were overwhelmingly unified by reconstituting Common
                Law Grand Juries in all 3,133 United States counties. All
                fifty States have unified nationally as an assembly of
                thousands of People in the name of We the People to
                suppress, through our Courts of Justice, enemies both
                foreign and domestic within our governments. This
                unified Grand Jury via Tribunal will remain in session until
                we secure the nation from the tyrants at large and
                reinstate our Constitution. 3

         The pleading alleges a large bulleted list of allegations committed by “The

United States Supreme Court, Federal Judiciary, US House of Representatives,




2   Docket 1 at 9.
3   Docket 1 at 12.

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and US Senate in collusion with deep state[-]controlled agencies[.]” 4 Additionally,

the pleading alleges that:

               the American BAR Association (ABA) have infiltrated our
               government at every level and played a pivotal role in the
               abrogation of common law, a/k/a Natural Law, in the
               United States by conspiring with the Judiciary and
               Congress for the construction of law thereby seizing
               control of all government official narratives on law. If the
               People dare to correct or challenge bureaucrat
               lawlessness, they are met by swarms of BAR lawyers
               and all too often swarms of law enforcement agents. 5

Further the pleading alleges that the “federal judiciary has seized powers not

delegated them” and challenges the veracity of the Fourteenth, Sixteen, and

Seventeenth Amendments of the U.S. Constitution. 6

         The pleading then outlines the numerous documents and pleadings filed and

“served” since May 2015 through the present day. Importantly, the pleading states:

               On December 14, 2016, We the People filed an action
               against the defendants in the United States District Court
               for the Northern District of New York, and that also
               served as a depository for Grand jury documents so as
               to proceed under the judicial auspices of the court, and
               marked the official beginning of the trial. And this filing is
               the end of that trial being a Writ demanding restoration of
               the law of the land via a Decision & Order by the Common
               Law Tribunal. . . .



4   Docket 1 at 18-22.
5   Docket 1 at 23-28.
6   Docket 1 at 28-31.

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               As the Judiciary always does, they concealed our Natural
               Law Court, EXTORTED a fee for the opening of a Court
               of Record and then transported our Court of Justice to a
               de facto quasi-court of injustice operating under
               jurisdictions unknown.

         The pleading does not make a prayer for relief from this Court. Instead, it

makes an enumerated list of orders to Congress, including: (1) “To impeach and

remove ALL judges that are in bad behavior”; (2) “To show by what Constitutional

authority they act when they propose legislation”; (3) to legislate that the

Constitution and civics to be taught in school; (4) “restore the original 13th

Amendment”; (5) “repeal the 17th Amendment”; (6) “clarify that the 16th

Amendment . . . does not and cannot authorize a direct tax”; (7) “to repeal all

legislation that subjects the People to government authority”; (8) “provide law and

funds to properly secure our borders”; (9) “to make regular not restrict commerce

with foreign nations, and among the several states, and with the Indian tribes”; (10)

“to coin money”; (11) “to coin only gold or silver”; (12) “not to turn over control of

our post offices to foreign control”; (13) “to cease taking money from special

interest groups for a favorable vote . . . . To sell your vote and soul to the highest

bidder is hereinafter a bride thereby a felony”; and (14) “Senate decisions need

only a majority vote to pass.” 7




7   Docket 1 at 55-56.

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         The pleading concludes with the statement “that any resistance, mutilation

or returned documents (filing) will be answered with Indictments.” 8 The pleading

is signed by a indecipherable signature only identified as the “Jury Foreman,

National Jury Tribunal” and features a “seal” of the Unified United States Grand

Jury stating “lex naturalis dei gratia” which roughly translates to “Natural Law by

the Grace of God.” 9

         The envelope shows the return address as UUS Common Law Grand Jury

and with a post office box in Valhalla, New York. 10 No individual or legal identity

is discernable. The “cover sheet” appears to be self-created and is not a form

provided by any Court. 11 Additionally, the cover sheet and the top sheets of the

pleadings indicate that this is a pleading or suit intended to be filed in the United

States District Court for the Northern District of New York. The second attachment

is a letter addressed to the Clerk of stating: “This is a non-statutory extraordinary

action for an extraordinary remedy under the Common Law and being non-

statutory no fee is required.” 12


8   Docket 1 at 56.
9Docket 1 at 56 (The Court takes judicial notice this is the same motto featured on the
banner image of the National Liberty Alliance website, see nationallibertyalliance.org.).
10   Docket 1 at 57.
11   Docket 1-1.
12   Docket 1-2.

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                                  LEGAL STANDARD

           The United States Supreme Court has established that “the federal courts

are under an independent obligation to examine their own jurisdiction[.]” 13 In a

federal court proceeding, a jurisdictional defect may be raised at any time. 14

                                      DISCUSSION

           Private citizens cannot invoke criminal statutes and pursue criminal charges

against others. Additionally, only an Article III court can convene a grand jury. For

the reasons discussed below, the Court lacks subject matter jurisdiction and

cannot extend its jurisdiction for this matter.         Therefore, this matter must be

dismissed.

      I.      Private Citizens Cannot Commence Criminal Actions

           The pleading describes itself as a “We the People Unified United States

Common Law Grand Jury” 15 and “United States Grand Jury (Status: sovereign)

Tribunal, the People. 16 Beyond its requested “orders” to Congress, this entity

invokes several federal criminal statues, as if it seeks to indict numerous

government officials and governmental bodies for criminal prosecution. A private



13   United States v. Hays, 515 U.S. 737, 742 (1995).
14   Washington Environmental Council v. Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013).
15   Docket 1 at 1.
16   Docket 1 at 7.

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citizen, or in this case an alleged group of private citizens, “lacks a judicially

cognizable interest in the prosecution or nonprosecution of another.” 17 “As a

general rule, individuals lack standing to intervene in criminal prosecutions.” 18

           Similarly, a private citizen or group cannot commence a federal criminal

action. As formalized by the Congress in 1875 and now codified in the Federal

Rules of Criminal Procedure, only a court may convene a federal grand jury for the

vetting and evaluation of federal crimes. 19 An extra-judicial or “common law” grand

jury has no actual or functional authority and stands in contradiction to historical

and modern federal law. 20 Accordingly, the Court cannot preside, accept, or




17   Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973).
18   United States v. Van Dyck, 866 F.3d 1130, 1133 (9th Cir. 2017).
19 1 Rev. Stat. 88 § 810 (1875) (“No grand jury shall be summoned to attend any circuit
or district court unless one of the judges of such circuit court, or the judge of such district,
in his own discretion, or upon a notification by the district attorney that such jury will be
needed, orders a venue to issue therefor. And either of the said courts may in term order
a grand jury to be summoned at such time, and to serve such time as it may direct,
whenever, in its judgment, it may be proper to do so.”); see generally Reynolds v. United
States, 98 U.S. 145 (1878); Fed. R. Crim. P. 6 (“When the public interest so requires, the
court must order that one or more grand juries be summoned.”).
20
     Id.

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condone a “grand jury” convened by private individuals or criminal actions

commenced or pursued by private individuals.

      II.      Subject Matter Jurisdiction

            Even if the Court construes the pleading as a civil matter, the Court lacks

subject matter jurisdiction. Jurisdiction is “[a] court's power to decide a case or

issue a decree.” 21         A court’s subject matter jurisdiction is its “statutory or

constitutional power to adjudicate a case.” 22 As a federal court, this Court has

limited subject matter jurisdiction. It possesses “only that power authorized by the

Constitution and statute.” 23 This means that the Court has the authority to hear

only specified types of cases. 24        “In civil cases, subject matter jurisdiction is

generally conferred upon federal district courts either through diversity jurisdiction,

28 U.S.C. § 1332, or federal question jurisdiction, 28 U.S.C. § 1331.” 25




21
     Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).
22
     Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).
23
  Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations
omitted); see also, e.g. A-Z Intern. v. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
24See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).
25   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).

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         Federal question jurisdiction gives a federal court the authority to consider

cases brought under the United States Constitution or federal statutes. 26 The

pleading does not cite or allege facts that would support a viable federal

constitutional or statutory claim. 27 As previously discussed, a private individual or

group cannot invoke criminal statutes as a cause of action. Because the pleading

does not clearly describe a violation of the U.S. Constitution or a federal statute

that is redressable by a private citizen in federal court, this Court does not appear

have federal question jurisdiction over this case.

         Diversity jurisdiction requires that the plaintiff has “citizenship which is

diverse from that of every defendant” and an amount in controversy greater than

$75,000. 28 This means that this Court could have subject matter jurisdiction over

a case (including one involving only state law issues) when the plaintiff

demonstrates that she is a citizen of a different state than the citizenship of each

of the defendants. 29 However, if any defendant is a citizen of the same state as




26   28 U.S.C. § 1331.
27   See Docket 1.
2828 U.S.C. § 1332; See Cook v. AVI Casino Enterprises, Inc., 548 F.3d 718, 722 (9th
Cir. 2008) (quoting Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996) (diversity jurisdiction
requires “complete diversity of citizenship”)).
29   Id. (quoting Kokkonen, 511 U.S. at 377).

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the plaintiff, then no diversity jurisdiction exists. 30 The pleading does not formally

establish citizenship. 31 More importantly, the pleading does not request damages,

only injunctive relief in the form of specific actions to be taken by Congress.

Therefore, this Court does not have diversity jurisdiction over this action,

regardless of the amount in controversy alleged.

             Based on the foregoing, the Court does not have subject matter jurisdiction

over this matter.


      III.      Futility


      Because an individual or group of individuals do not have a private cause of

action to enforce criminal statutes, no amendment of either law or fact can create

a viable cause of action.


      IV.       “Writs of Mandamus and Information” at Dockets 4 & 5


             The Plaintiff has filed two documents titled “Writ Mandamus & Information”

and “Information & Writ Mandamus” at Dockets 4 and 5, respectively. A writ of

mandamus is “an order by the court compelling a judge, public official, or

corporation to perform a ministerial duty required by law or custom. Mandamus



30   Id.
31   See Docket 1.

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cannot be used to order a particular outcome from the use of discretion[.]” 32 As

the Supreme Court has clearly established: “The common-law writ of mandamus,

as codified in 28 U.S.C. § 1361, is intended to provide a remedy for a plaintiff only

if he has exhausted all other avenues of relief and only if the defendant owes him

a clear nondiscretionary duty.” 33

         At Docket 4, the request for relief is “Congressman, Senators, Judges, and

all appointed and employed bureaucrats are commanded to honor their oath to

guarantee a “REPUBLICAN FORM OF GOVERNMENT” and stop trying to

convince the average voter that we are a democracy, the NWO is DOA.” 34 At

Docket 5, the request for relief is:


                THE UNITED STATES SUPREME COURT is to honor their
                oaths of office, let our People go from your jurisdictions
                unknown, and reinstate our Natural Law Courts of Justice
                that you have concealed since 1938.

                ALL FEDERAL DISTRICT COURT JUDGES are to send the
                Common Law Grand Jury a certified copy of their oaths.




32“Mandamus,” Bouvier’s Law Dictionary, (Desk ed. Vol. II 2012); see also Black’s Law
Dictionary, (11th ed. 2019).
33   Heckler v. Ringer, 466 U.S. 602, 616 (1984).
34   Docket 4 at 5.

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                ALL FEDERAL DISTRICT COURT CHIEF JUDGES are to
                provide a non-statutory form that provides for the
                Peoples’ access to “Natural Law Courts” without cost as
                per the Supreme Law of the Land. 35

Neither “writs” request relief regarding the specific ministerial duty of a specific

individual. Instead, these documents request broad orders to command public

officials to stop using certain terms when discussing government, remake the

jurisdiction of the United States Supreme Court as established by the U.S.

Constitution, send certified copies of judicial oaths, and create a special form for

access to “Natural Law Courts” that exempts (presumably the plaintiff and

associated future filers) from paying court fees and the procedural requirements of

the federal courts. These documents do not allege an officer, agency, or employee

of the United States and a performance duty owed to the plaintiff that would

establish this Court’s jurisdiction of a writ of mandamus. These documents do not

meet the functional requirements, even liberally construed, to be writs of

mandamus.         The documents would be best classified as voicing political

grievances, which cannot be addressed by the Court.

         Accordingly, these documents are not writs of mandamus and present no

claims over which this Court may have jurisdiction.




35   Docket 5 at 7.

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IT IS THEREFORE ORDERED:


   1. The Court DISMISSES the pleading with prejudice.

   2. The unknown party or parties have also submitted a “Decision & Order Obey

      the Law of the Land” at Docket 3. This is a filing by an unidentified, self-

      represented litigant or group of self-represented litigants. The Clerk of Court

      is directed to indicate this is a filing by a self-represented litigant by placing

      a watermark on the filing stating: “VOID: THIS IS NOT A VALID COURT

      ORDER. IT IS A FILING BY A SELF-REPRESENTED LITIGANT.”

   3. The Clerk of Court is directed to enter a final judgment accordingly.

   DATED at Anchorage, Alaska, this 21st day of October, 2019.


                                               /s/ Timothy M. Burgess
                                               TIMOTHY BURGESS
                                               UNITED STATES DISTRICT JUDGE




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